             Case 2:10-cv-03907-JCJ Document 7 Filed 09/28/10 Page 1 of 2




                        UNITED STATES DISTRICT COURT
                                  FOR THE
                      EASTERN DISTRICT OF PENNSYLVANIA


                             )
                             )
WILLIAM F. WALKER,           )
         Plaintiff           )
                             ) Civil Action No.: 10-3907
                             )
    v.                       )
                             )
NCO FINANCIAL SYSTEMS, INC., )
                             )
         Defendant           )
                             )

                     PLAINTIFF’S PETITION FOR ATTORNEY’S FEES

        The Plaintiff, William F. Walker, by his attorney, petitions this Court pursuant to Fed. R.

Civ. P.54(d) and 15 U.S.C. §§ 1681n and 1681o for his reasonable attorney’s incurred in this

case. In support of this petition, Plaintiff states as follows:

        1.      On September 3, 2010, Defendant, NCO Financial Systems, Inc., filed an Offer of

Judgment. See Exhibit “A”.

        2.      Defendant’s offer provides that Defendant agrees to entry of judgment against it

in the amount of $1,000, in addition, it provided “[t]he Judgment entered shall also include an

amount for reasonable costs and attorney's fees accrued through the date of this Offer of

Judgment. Reasonable costs and attorney's fees are to be agreed upon by the parties, or, if the

parties are unable to agree, to be determined by the Court on application by Plaintiffs counsel

subject to the limitation that attorney's fees and costs are cut off as of the date of this Offer of

Judgment[.]” See Exhibit “A”.
            Case 2:10-cv-03907-JCJ Document 7 Filed 09/28/10 Page 2 of 2




       3.      On September 3, 2010, Plaintiff accepted of Defendant’s offer.

       4.      Despite the best efforts of the parties, there has been no resolution as to the

amount of attorney’s fees Plaintiff’s counsel shall be paid.

       5.      Plaintiff is entitled to reasonable attorney’s fees pursuant to the wording of the

Rule 68 Offer of Judgment and under 15 U.S.C. § 1692k(a)(3).

       6.      Plaintiff submits in support of his petition the Declaration of Craig Thor Kimmel

his attorney (Exhibits “C”), his attorney’s itemized time records for this case (Exhibit “B”), the

Declaration of Nicholas Bontrager (Exhibit “G”). This petition is also accompanied by Plaintiff’s

Memorandum in Support of his Petition for Attorney’s Fees.

       7.      Should Plaintiff incur additional attorney’s fees in pursuing this petition, Plaintiff

will supplement his attorney’s itemized time records accordingly.

       WHEREFORE, Plaintiff respectfully requests this Court to:

       A.      Award Plaintiff his reasonable attorney’s fees incurred in this case, in the

amount of $2,925.50;

       B.      Enter judgment accordingly; and

       C.      Grant such other relief as may be just and proper.



                                              Respectfully submitted,
                                              Kimmel & Silverman, LLC
                                              s/ Craig Thor Kimmel
                                              Craig Thor Kimmel


Dated: September 28, 2010
